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 9               IN THE UNITED STATES DISTRICT COURT FOR THE

10                       EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,         ) CASE NO. 1:13-CR-077 LJO
                                       )
13                                     ) ORDER RE:
                    Plaintiff,         ) MOTION FOR DISCLOSURE OF PRETRIAL
14                                     ) SERVICES INFORMATION
               v.                      )
15                                     )
     ISMAEL RUBALCAVA,                 )
16                                     )
                    Defendant.         )
17                                     )

18
          GOOD CAUSE APPEARING, based on the filing of a Ninth Circuit
19
     appeal of the detention order by the defendant, it is hereby
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     ordered that the Pretrial Services Office for the United States
21
     District Court for the Eastern District of California provide
22
     copies of the Pretrial Services Report regarding ISMAEL RUBALCAVA
23
     and any supplemental reports which were presented to the United
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     States District Judge Lawrence J. O’Neill and that said reports be
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     provided to the Clerk of the Court for inclusion in the record on
26
     appeal to be transmitted to the Court of Appeals for the Ninth
27
     Circuit for its consideration.
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 1        FURTHER, that after said consideration by the United States

 2   Court of Appeals for the Ninth Circuit, said reports are to be

 3   returned to the files of the Pretrial Services Office for the

 4   Eastern District of California and maintained therein and are not

 5   to be kept in any other court file.

 6        IT IS SO ORDERED.

 7   Dated: April 25, 2013

 8                                                /s/ Lawrence J. O’Neill
                                                  LAWRENCE J. O’NEILL
 9                                                United States District
                                                  Court Judge
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